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                 EXHIBIT D
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                                                          LAW OFFICES




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                               " .. • .. ADMITTED IN MISSOURI, KANSAS AND THE DISTRICT OF COLUMI:;iIA
                                               ttADMITTED IN MISSOURI, KANSAS AND ILLINOIS
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                                                       March 04,2013

   Christy D. Jones
   Donna B. Jacobs
   Benjamin M. Watson
   BUTLER SNOW
   PO Box 6010
   Ridgeland, MS 39158

           RE: Pelvic Mesh

   Dear Christy:

            I am writing to set forth items of discovery that plaintiffs request be expedited prior the
   depositions of the TVT witnesses, the first of which is Susan Lin, scheduled for March 12th and
   13 th • This request involves establishing the "final" in-use versions of the IFU's for the TVT
   products, as well as the "final" in-use versions for the SUI patient brochures. In order to avoid
   wasting valuable deposition time and the possible need to re-depose witnesses, it is necessary to
   establish from the onset the final versions of these documents so the examination of witnesses
   can occur in an orderly and efficient manner.

           Riker Danzig has already provided a list of the IFU's in use for the various products at
   issue in this litigation, including the first day of use and the last day of use, attached hereto as
   "Exhibit A". A list ofthe final in-use versions of the POP Patient brochures and dates of use
   have also been produced, attached hereto as "Exhibit B". However, to the best of my
   knowledge, the same has not been done for the SUI patient brochures at this time.

           l.      For each of the TVT Products, please produce the original patient brochure(s)
   utilized fTom 1998 to the present, if not already produced. Also provide the official dates of first
   and last use, and identify by bates range.

           2.       Please also produce any so-called "disease state" SUI product brochures prepared
   or distributed by Ethicon or J &J from 1998 to the present regardless of whether they specifically
   reference Ethicon or J &J products, if not already produced. Also provide the official dates of
   first and last use, and identify by bates range.
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  Christy D. Jones
  Donna B. Jacobs
  B.enjamin M. Watson
- March 4, 2013
  Page 2



          3.     The version of the TVT "classic" IFU designated as the final version in use from
  01-16-01 to "unavailable" (ETH.MESH.02340370) appears to be missing significant areas of
  text from mUltiple areas of the document. Please confirm that this version of the document with
  the missing text does indeed represent the final version of the IFD. Ifit does not, please re-
  produce the correct document and amend the IFU Index and Production Bates Range Chart if
  necessary.

         4.      The version of the TVT "classic" IFU designated as the final version in use from
 04-07-2006 through 10-07-2008 (ETH.MESH.02340250) appears to have no English version of
 the label contained within the document. Please confirm that this version of the document with
 the missing text does indeed represent the final version of the IFU. Ifit does not, please re-
 produce the correct document and amend the IFU Index and Production Bates Range Chart if
 necessary.

          5.     The version of the TVT "classic" IFU designated as the final version in use from
 11-29-10 to present day (ETH.MESH.02340402) appears to be missing significant areas of text
 from multiple areas of the document similar to the IFU described in #3 above. Please confirm
 that this version of the document with the missing text does indeed represent the final version of
 the IFD. If it does not, please re-produce the correct document and amend the IFU Index and
 Production Bates Range Chart if necessary.

         6.       The TVT "classic" device received FDA clearance on 01-28-1998, yet there is no
 IFU designated as in-use prior to 01-16-2001. While we understand that the TVT "classic" may
 not have been marketed in the United States during that entire time period, any IFU's in use
 between 01-28-1998 and 01-16-2001 are relevant to this litigation regardless of whether or not
 they were used in the United States. Please produce any such TVT IFU's in use during that time
 tl'ame if not already produced. Also provide the official dates of first and last use, identify by
 bates range, and amend the IFU Index and Production Bates Range Chart if necessary.

        7.      For the TVT-AA and TVT-D, please produce any IFU's used during those
 products' lifecycle, if not already produced. Also provide the official dates of first and last use
 and identify by bates range.
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                                WAGSTAFF &         CARTMELL LLP

  Christy D. Jones
  Donna B. Jacobs
  Benjamin M. Watson
  March 4,2013
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          8.      With regard to the version of the TVT "classic" IFU being designated as in-use
  from 01-16-01 to "unavailable", please provide an explanation for why the last use date for this
  particular IFU is "unavailable." Also, please identifY and provide the source of the underlying
  data utilized to create the first use date and last use date on the IFU Index and Production Bates
  Range Chart.

          All of the above items were requested in the New Jersey litigation over a year ago, and
  are within the scope of existing discovery requests in the MDL, so they should not be construed
  as new requests. There are other production issues that we will be addressing under separate
  cover. Please let us know how long you estimate it will take to respond to these requests.

         Best regards.

                                                Very truly yours,




                                                Thomas P. Cartmell

  TPC/mg
  Enclosure
  cc: Bryan Aylstock
      Renee Baggett
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Case 2:12-md-02327 Document 639-4 Filed 06/11/13 Page 6 of 10 PageID #: 7460




IFU Index ane! Production Batos Range Chart




                                                                                            CONFIDENTIAL
                                                    SUBJECT TO STIPULA TIO" AND ORDfOR OF CONFIDE~TIAUTY
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                                                                                Reply to: Morristown



         Via Email

         May 21,2012

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          10 East 40th Street                              17 East Main Street. Suite 200
         New YOI'k, NY 10016                               Pensacola, FL 32502

         Re:         In Re Pelvic Mesh/Gynecare Litigation - CT 291

         Counsel:

                      This letter will document the results (previously communicated to
         Cheryll Calderon) of the joint effort to confirm the final versions and approval
         dates of the patient brochures relating to the pelvic floor products to the best of
         our knowledge and ability to date. Though the documents are included in the
         productions to date, we reproduced them in Production 44, in color, with unique
         Bates numbers.

               {I    Attachment I (ETH.MESH.03905968-ETH.MESH.0390597S) = "Get the
                     Facts, Be Informed" brochure copyrighted 2005 (woman with long brown
                     hair, pearl earrings, white blouse on blue background cover), identified in
                     Defendants' 2005 to 2009 copy review materials index as "GYNECARE
                     PROLlFT* Pelvic Floor Repair System Patient Brochure/Robin Osman," CR
                     Item 1812, with an approval date of 11/9/2005, Last page of brochure
                     states: "Ethicon, Inc. 2005 *Trademark GPS005". [Note that a version of
                     this document was marked by Plaintiffs during depositions as Exhibit 428.]
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         Plaintiffs' Counsel
         May 21, 2012
         Page 2


             "    Attachment 2 (ETH.MESH.03905976*ETH.MESH.03905991                 "Get the
                                                                                     1
                                                                                         )   =
                  Facts, Be Informed" brochure copyrighted 2006 (woman with short blond
                  hair and white sweater on blue and gt-een cover), identified in Defendant's
                  2005 to 2009 copy review materials index as "GYNECARE PROLlFT*
                  Pelvic Floor Repair Systems Patient Bt-ochure/Robin Osman," CR Item
                  2938, with an approval date of I I I 15/2006. Last page of brochure states:
                  "Ethicon, Inc. 2006 *Trademark GPSOOSR" .

             .,   Attachment 3 - (ETH.MESH.03905992-ETH.MESH.03906000) = "What's
                  Happening Down There" brochure copyrighted 2007, identified in
                  Defendants' 2005 to 2009 copy review materials index as "GYNECARE
                  PROLAPSE* Patient BrochurelJackie Russo-Jankewicz," CR Item 3165 with
                  an approval date of 217/2007. Last page of brochure states: "GPS020".

             ..   Attachment 4 - (ETH,MESH,0390603?ETH.MESH.039060s2)               "Stop    =
                  Coping, Start Living" brochure copyrighted 2008 (two women. one with
                  white sweater and one with beige jacket, on white background cover),
                  identified in Defendants' 2005 to 2009 copy review materials index as
                  "Pelvic Organ PROLAPSE Patient Brochure/Robin Osman," CR Item 2008-
                  12-2, with an approval date of 10/22/2008. Last page of brochure states:
                  "Ethicon, Inc. 2008 GPS005R I".

            •     Attachment 5 - (ETH.MESH.0390600 I-ETH.MESH,03906020)             "Stop    =
                  Coping, Start Living" brochure copyrighted 2009 (two women, pink blouse
                  and blue blouse, on white background cover), identified in Defendants'
                  2009 to present GGM Blue index as "POP Patient Brochure/Kevin Frost,"
                  Task No. GPD-037-1 0-1112, approval date I 1/9/2009. Last page of
                  bt'ochure states: "Ethicon, Inc. 2009 GPD-03?-1 0-1/12" and it includes
                  Prosima.

                                                              Very truly yours,



                                                              2(e[{y S. Crawforale
                                                              Kelly S. Crawford




         I This same brochure was produced twice in color in Production 44,   The second range was
         ETH,M ESH ,03906021-ETH,MESH,03906036.
                                                              Case 2:12-md-02327 Document 639-4 Filed 06/11/13 Page 10 of 10 PageID #: 7464


                                                                                                                           Pelvic Mesh Litigation
                                                                                                                       In Use Copy Review Materiais
                                                                                                                           POP Patient Brochures

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                                           Patient Brochure/Robin Osman                               I                                                   brochure copyrighted 2005 wrt~
                                                                                                      I
                                                                                                                                                              "Ethicol1, Inc 2005 1t.Trademark
                                                                                                      II                                                  GPSOOS' on last page

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 2005                       :<;YNECAR, PROLlFT' Pelvic Floor Repair       2933          n/1S/2006     iETH.MESH.0390S976 and      ETH MESH.03905991 and       "'Get the Facts, Be Informed
                            iSystems Patient BrochureiRobin Osm3o                                         ETH.MESH.039C6021       ETH.MESH.03906036           brochure copyrighted 2006 with
                                                                                                                                                              "(thican, Inc. 2006 'Trademark
                                                                                                                                                              GPS005R" en last ?age


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                                                                                       2/7/2007           ETH.MESH.03905992       ETH.MESH.03906000       I   "What's Happening Down There"
                                                                                                                                                              brochure copyrighted 2007, with



 2008                       : Pelvic Organ PROLAPSE Patient
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                                                                          2008-1202     10/22/2008        ETH.MESH.03906037      IETK.MESH.Q3906052
                                                                                                                                                          ,
                                                                                                                                                              "GPS020" on last page

                                                                                                                                                              "Stop Coping, Stact living"
                             ,Srochure/Rooiil Osm.an                                                                                                          brochure copyrighted 2008 with
                                                                                                                                                              "Ethieon, Inc. 2008 GPSOO5Rl"



 2011                         GPO-037-10 _Pot;ent Prolapse                .GPD.G37-10· 11/9/2009          ETK.MESH 03906001
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